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                      Exhibit 2
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                                           UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF ILLINOIS


                                                                Case No. 1:19-cv-07786

                 IN RE BAXTER INTERNATIONAL INC.                District Judge Sara L. Ellis
                 SECURITIES LITIGATION
                                                                Magistrate Judge Jeffrey I. Cummings




             DECLARATION OF ESA-VILLE YLÄTUPA, CHIEF LEGAL COUNSEL FOR VARMA
                 MUTUAL PENSION INSURANCE COMPANY, IN SUPPORT OF: (I) LEAD
             PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT AND PLAN OF
              ALLOCATION; AND (II) LEAD COUNSEL’S MOTION FOR ATTORNEYS’ FEES
                                  AND LITIGATION EXPENSES

                     I, Esa-Ville Ylätupa, hereby declare under penalty of perjury as follows:

                     1.      I am the Chief Legal Counsel for Varma Mutual Pension Insurance Company

             (“Varma”), one of the Court-appointed Lead Plaintiffs in this securities class action (the

             “Action”).1 I submit this Declaration in support of (i) Lead Plaintiffs’ motion for final approval of

             Settlement and Plan of Allocation; and (ii) Lead Counsel’s motion for attorneys’ fees and

             Litigation Expenses. I have personal knowledge of the matters set forth in this Declaration and, if

             called upon, I could and would testify competently thereto.

                     2.      Based in Helsinki, Finland, Varma provides pension insurance services. Varma

             manages the pension savings for approximately 900,000 Finns and, as of March 31, 2021, Varma

             had roughly EUR 52 billion (approximately USD $62 billion) in assets under management.




             1
                     Unless otherwise defined in this Declaration, all capitalized terms have the meanings set
             out in the Stipulation and Agreement of Settlement dated April 21, 2021 (ECF No. 57-1).
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             I.      Varma’s Oversight of the Action

                     3.      I am aware of and understand the requirements and responsibilities of a lead

             plaintiff in a securities class action, including those set forth in the Private Securities Litigation

             Reform Act of 1995 (“PSLRA”).

                     4.      By Order dated January 31, 2020, the Court appointed Varma, along with Louisiana

             Municipal Police Employees’ Retirement System, as Lead Plaintiffs in the Action pursuant to the

             PSLRA. By the same Order, the Court approved Varma’s selection of Kessler Topaz Meltzer &

             Check, LLP (“KTMC”) as co-Lead Counsel for the class.

                     5.      Varma, through the active and continuous involvement of myself and my colleague

             Elli Sistonen, Legal Counsel for Varma, closely supervised, carefully monitored, and was actively

             involved in all material aspects of the prosecution and resolution of the Action. Varma received

             periodic status reports from KTMC on case developments and participated in regular discussions

             with attorneys from KTMC concerning the prosecution of the Action, the strengths of and risks to

             the claims asserted against Defendants, and potential settlement. In particular, throughout the

             course of this Action, I: (a) communicated with KTMC by email, telephone calls, and written

             correspondence regarding the posture and progress of the case; (b) reviewed all significant

             pleadings and briefs filed in the Action; (c) reviewed and approved the mediation statement

             prepared in advance of the February 17, 2021 mediation with Gregory Lindstrom, Esq. of Phillips

             ADR (the “Mediation”); (d) attended the Mediation (which was held remotely) and recommended

             the approval of the mediator’s recommendation to resolve the litigation for $16 million; (e) was

             updated on the status of settlement discussions concerning the term sheet and confirmatory

             discovery; and (f) reviewed and approved the final settlement papers submitted with this

             Declaration.



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             II.      Varma Strongly Endorses Approval of the Settlement

                      6.      Based on its involvement throughout the prosecution and resolution of the claims

             asserted in the Action, Varma believes that the proposed Settlement is fair, reasonable, and

             adequate to the Settlement Class. Varma believes that the Settlement represents a favorable

             recovery for the Settlement Class, particularly in light of the substantial risks of continuing to

             prosecute the claims in this case and in recovering a judgment larger than the proposed Settlement.

             Therefore, Varma strongly endorses approval of the Settlement by the Court.

             III.     Varma Supports Lead Counsel’s Motion for Attorneys’ Fees and
                      Litigation Expenses

                      7.      While it is understood that the ultimate determination of Lead Counsel’s request

             for attorneys’ fees and expenses rests with the Court, Varma believes that Lead Counsel’s request

             for an award of attorneys’ fees in the amount of 22% of the Settlement Fund is reasonable in light

             of the result achieved in the Action, the risks undertaken, and the quality of the work performed

             by Lead Counsel on behalf of Lead Plaintiffs and the Settlement Class. Lead Counsel’s fee request

             is made in accordance with a retainer agreement entered into between Varma and Lead Counsel at

             the outset of the litigation. After the agreement to settle the Action was reached, Varma evaluated

             the fee request by considering the recovery obtained for the Settlement Class in the Action, the

             risks of the Action and the obstacles to continued litigation and obtaining a larger recovery for the

             Settlement Class, and its observations of the high-quality work performed by Lead Counsel

             throughout the litigation, and has authorized this fee request to the Court for its ultimate

             determination.

                      8.      Varma further believes that Lead Counsel’s Litigation Expenses are reasonable and

             represent costs and expenses necessary for the prosecution and resolution of the claims in the

             Action. Based on the foregoing, and consistent with its obligation to the class to obtain the best


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             result at the most efficient cost, Varma fully supports Lead Counsel’s motion for attorneys’ fees

             and Litigation Expenses.

                       9.        Varma understands that reimbursement of a class representative’s reasonable costs

             and expenses is authorized under the PSLRA. For this reason, in connection with Lead Counsel’s

             request for reimbursement of Litigation Expenses, Varma seeks reimbursement for the costs and

             expenses that it incurred directly relating to its representation of the Settlement Class in the Action.

                       10.       My responsibility as Varma’s Chief Legal Counsel includes monitoring litigation

             matters related to the investment portfolio. Additionally, during the course of the Action, I was

             assisted by Elli Sistonen, Legal Counsel for Varma.

                       11.       The time that Ms. Sistonen and I devoted to the representation of the Settlement

             Class in this Action was time that we otherwise would have expected to spend on other work for

             Varma and, thus, represented a cost to Varma. Varma seeks reimbursement in the amount of

             $2,598.75 for the time of the following Varma personnel:

                     Personnel                    Hours                    Rate2                    Total
                 Esa-Ville Ylätupa                   10                    $87.00                  $870.00
                 Elli Sistonen                       25                    $69.15                 $1,728.75


                      TOTAL:                         35                                           $2,598.75

             IV.       Conclusion

                       12.       In conclusion, Varma, one of the Court-appointed Lead Plaintiffs for the Settlement

             Class, was closely involved throughout the prosecution and settlement of the Action, strongly



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                     The hourly rates used for purposes of this request are based on the annual compensation of
             the respective personnel who worked on this Action. All dollar figures are based on a U.S.
             dollar/Euro exchange rate of 1 USD / 0.84 Euro.

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